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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

JANE DOE,                                     )
                                              )
                          Plaintiff,          )
                                              )
                     v.                       )   No. 1:20-cv-02403-JPH-DLP
                                              )
LIVEOPS AGENT SERVICES, LLC,                  )
                                              )
                          Defendant.          )

                 NOTICE TO PRO SE LITIGANT AND ORDER

      The following information is provided to pro se litigants to inform them

about the rules and procedures governing how they communicate with the

Court. Pro se litigants should read this Notice carefully before filing anything

further with the Court. All litigants are expected to comply with the Federal

Rules of Civil Procedure and this Court's Local Rules.

      Plaintiffs have a duty to update their addresses. The plaintiff shall report

any change of address within thirty (30) days of any change while this action

remains pending. The Court must be able to locate and communicate with the

plaintiff. If the plaintiff fails to keep the Court informed of her current address,

the action may be subject to dismissal.

      The plaintiff shall have through November 20, 2020 to provide the

Court with her contact information, including an address where she can be

reached. If the plaintiff does not do so, the Court will dismiss this case without

prejudice.



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      In addition, this district’s Local Rule 10-1 mandates that a plaintiff

seeking to proceed anonymously must, at the time of filing the initial pleading,

file under seal a notice of intention to seek leave to proceed anonymously and

disclose the plaintiff’s true name. S.D. L.R. 10-1(a). Contemporaneously with

the notice, the plaintiff must file a motion to proceed anonymously and serve

each opposing party with both the notice and the motion within seven days of

the opposing party’s appearance. S.D. L.R. 10-1(b) and (c). Because the

plaintiff has filed neither notice nor a motion to proceed under a pseudonym,

the Court directs the clerk to replace "Jane Doe" as Plaintiff with

"Aleksandra Surzycki."

      Because the Plaintiff has not provided her address, the Clerk cannot

send Plaintiff a copy of this Order.

SO ORDERED.

Date: 10/20/2020




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